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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

SHARON SPEARMAN,                                )
CHRISTOPHER THOMAS and                          )
DREAM RUSHING, minors by their                  )
Mother, SHARON SPEARMAN,                        )
                                                )        Case No. 15-cv-07029
                        Plaintiffs,             )
                                                )        Judge Elaine Bucklo
                v.                              )
                                                )        Magistrate Judge Susan E. Cox
SGT. ELIZUND #1340, P.O. CARIBOU                )
#7416, P.O. MOSTOWSKI #12898, P.O.              )
STEPHANS #4337, P.O. HERNANDEZ                  )
#7387, and THE CITY OF CHICAGO, a               )        JURY DEMAND
municipal corporation,                          )
                                                )
                        Defendants.             )

         PLAINTIFFS’ RESPONSE IN OPPOSITION TO MOTION TO DISMISS
                        PLAINTIFF’S MONELL CLAIM

        Plaintiffs by and through their attorneys GREGORY E. KULIS AND ASSOCIATES,

LTD., submit this brief in response to the City of Chicago’s Motion to Dismiss Plaintiffs’ Monell

Claims. In support thereof, Plaintiffs state as follows:

                                        LEGAL STANDARD

        a. Rule 12(b)(6) Accepts All Pled Facts as True and Merely Tests the Sufficiency of
           the Complaint

        The City seeks to dismiss Plaintiffs’ Monell claim for failure to state a claim upon which

relief can be granted. To survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)). A claim is plausible on its face “when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

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alleged.” Iqbal, 129 S Ct. at 1949 (citing Twombly, 550 U.S. at 55). The plausibility requirement

is not a heightened pleading requirement, but “threadbare recitals of the elements of a cause of

action supported by mere conclusory statements, do not suffice.” Id.

       A Rule 12(b)(6) motion to dismiss tests the sufficiency of the complaint, not the merits of

the case. Gibson v. City of Chi., 910 F.2d 1510, 1520 (7th Cir. 1990). In reviewing a motion to

dismiss under Rule 12(b)(6), the Court takes as true all factual allegations in Plaintiff’s

complaint and draws all reasonable inferences in his favor. Killingsworth v. HSBC Bank Nevada,

N.A., 507 F.3d 614, 618 (7th Cir. 2007). Under Federal Rule of Civil Procedure 12(b)(6),

dismissal of a complaint is proper only where it appears beyond doubt that the plaintiff can prove

no set of facts in support of his or her claim on which relief may be granted. Hickey v. O'Bannon,

287 F.3d 656, 657 (7th Cir., 2002). All well-pleaded facts, and any reasonable inferences drawn

therefrom, are accepted as true and are construed in favor of the plaintiff. Id; see also Stachon v.

United Consumers Club, 229 F.3d 673, 675 (7th Cir. 2000). To survive a Rule 12(b)(6) motion to

dismiss, the claim first must comply with Rule 8(a) by providing “a short and plain statement of

the claim showing that the pleader is entitled to relief” (Fed. R. Civ. P. 8(a)(2)), such that the

defendant is given “fair notice of what the…claim is and the grounds upon which it rests.” Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47

(1957)). Second, the factual allegations in the claim must be sufficient to raise the possibility of

relief above the “speculative level,” assuming that all of the allegations in the complaint are true.

E.E.O.C. v. Concentra Health Servs., Inc., 496 F.3d 773, 776 (7th Cir. 2007) (quoting Twombly,

550 U.S. at 555). “A pleading that offers ‘labels and conclusions’ or a ‘formulaic recitation of

the elements of a cause of action will not do.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Twombly, 550 U.S. at 555). However, “[s]pecific facts are not necessary; the statement



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need only give the defendant fair notice of what the…claim is and the grounds upon which it

rests.” Erickson v. Pardus, 551 U.S. 89, 93 (2007) (citing Twombly, 550 U.S. at 555) (ellipsis in

original). The Court reads the complaint and assesses its plausibility as a whole. See Atkins v.

City of Chi., 631 F.3d 823, 832 (7th Cir. 2011); cf. Scott v. City of Chi., 195 F.3d 950, 952 (7th

Cir. 1999) (“Whether a complaint provides notice, however, is determined by looking at the

complaint as a whole.”). The Seventh Circuit further has explained that the plaintiff must allege

“enough details about the subject-matter of the case to present a story that holds together.”

Swanson v. Citibank, N.A., 614 F.3d 400, 404 (7th Cir. 2010). A complex case requires a greater

level of detail to survive a motion to dismiss, “both to give the opposing party notice of what the

case is all about and to show how, in the plaintiff’s mind at least, the dots should be connected.”

Id. at 405.

        b. There is No Heightened Pleading Requirement With Respect to Monell Claims

        The Supreme Court has repeatedly held and confirmed that there is no heightened

pleading requirement as to Monell claims beyond the basic standard set forth in Fed. R. Civ. P.

8(a)(2). Johnson v. City of Shelby, 135 S. Ct. 346 (2014) (per curiam); Leatherman v. Tarrant

County Narcotics Intelligence & Coordination Unit, 507 U.S. 163, 164 (1993); see also Estate of

Sims ex rel Sims v. County. of Bureau, 506 F.3d 509, 514 (7th Cir. 2007) (“a federal court may

not apply a heightened pleading standard more stringent than the usual Rule 8(a) pleading

requirements” with respect to Monell claims); McCormick v. City of Chicago, 230 F.3d 319, 323-

24 (7th Cir. 2000).

        As demonstrated in Plaintiff’s First Amended Complaint (hereafter “Complaint”) and

below, Plaintiffs have more than met their burden at this stage in the litigation. The Complaint

alleged facts that, accepted as true, state a plausible claim for relief against Defendants for the



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misconduct alleged.

   PLAINTIFF SUFFICIENTLY STATE CLAIMS FOR VIOLATIONS OF FEDERAL
                  LAW UNDER THE MONELL DOCTRINE

        At the heart of Plaintiffs’ suit is a 42 U.S.C. § 1983 claim against the City. For a

municipality to be liable under § 1983, a plaintiff must prove that action pursuant to municipal

policy caused the alleged constitutional violation. Monell v. Dep’t of Soc. Servs. of the City of

New York, 436 U.S. 658, 691 (1978). Defendants’ arguments focus on the question of whether

Plaintiffs’ have adequately alleged an “official municipal policy.” Official municipal policy can

take three forms: (1) an express policy that causes a constitutional deprivation when enforced;

(2) a widespread practice so permanent and well-settled that it constitutes a custom or practice;

or (3) an allegation that the constitutional injury was caused by a person with final policymaking

authority. Lewis v. City of Chicago, 496 F.3d 645, 656 (7th Cir. 2007).

        In cases alleging a municipality’s failure to train, supervise, monitor, and/or discipline

police officers, a municipality can be held liable when its officials have been “deliberately

indifferent” to the constitutional deprivations that are caused by and that are likely to be caused

by that failure. See City of Canton, Ohio v. Harris, 489 U.S. 378, 388 (1989); Gibson v. City of

Chicago, 910 F.2d 1510, 1519-23 (7th Cir. 1990). Deliberate indifference may be inferred where

“the need for more or better supervision [or training] to protect against constitutional violations

was obvious,” but the policymaker “fail[ed] to make meaningful efforts to address the risk of

harm to plaintiffs.” Cash v. Cnty. of Erie, 654 F.3d 324, 334 (2d Cir. 2011); see also Connick v.

Thompson, 131 S. Ct. 1350, 1359-61 (2011); Sornberger v. City of Knoxville, Ill., 434 F.3d 1006,

1029-30 (7th Cir. 2006) (a municipality shows deliberate indifference if it fails to provide further

training after learning of a pattern of constitutional violations by the officers).




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       Drawing from the Supreme Court decisions in Connick and Canton, federal courts have

repeatedly held that official municipal policy rises to the level of deliberate indifference if the

following three conditions are met:

                 (1) [the] policymaker knows “to a moral certainty” that its
                 employees will confront a given situation; (2) either [the] situation
                 presents employees with [a] difficult choice that will be made less
                 so by training or supervision, or there is a record of employees
                 mishandling [the] situation; and (3) [a] wrong choice by employees
                 will frequently cause [the] deprivation of constitutional rights.

Cash, 654 F.3d at 334 (citations omitted); see also Connick, 131 S. Ct. at 1361; Canton, 489 U.S.

at 396. Each of these is a question of fact, based on the evidence developed in discovery and

presented on a motion for summary judgment or at trial. At the pleading stage, a claim of

liability pursuant to the Monell doctrine requires a plaintiff to plead facts allowing the inference

that the violation of the plaintiff’s constitutional rights resulted from “official municipal policy.”

See Listenbee v. City of Harvey, No. 11 C 03031, 2013 WL 5567552, at *3 (N.D. Ill. Oct. 9,

2013). As demonstrated below and in the Amended Complaint, Plaintiffs have sufficiently stated

claims of municipal liability under Monell. Although Plaintiffs will have to present evidence

demonstrating the existence of an official municipal policy or practice that caused and that will

continue to cause constitutional injuries in order to survive summary judgment, see Grieveson v.

Anderson, 538 F.3d 763, 771 (7th Cir. 2008), they are not required to do so in their complaint or

on a motion to dismiss. Accordingly, the Court should deny Defendants’ motions to dismiss, and

permit this case to proceed so that the parties can take discovery on the merits of these claims.

           a. Plaintiffs Have Pled Sufficient Facts to Show that a Widespread Custom or
              Practice Exists

       The Amended Complaint alleges sufficient facts to demonstrate that the City had and has

practices and customs that are so persistent and widespread as to practically have the force of



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law. See Complaint ¶¶ 20-35. Defendants’ argument attempts to sidestep the myriad of facts

pled in the Monell count by curiously disregarding them as “true, but meaningless.” The only

legal authority Defendants cite for this proposition is the Seventh Circuit’s 1985 decision in

Strauss v. City of Chicago. Strauss, however, was decided pre-Leatherman, and although

Leatherman did not squarely address Strauss, many courts in this district have regarded Strauss

as effectively overruled by Leatherman, at least so far as the heightened pleading requirement is

concerned, wherein a municipality can regard Monell allegations as “meaningless.” See e.g.

Brogan v. Bd. of Educ. of Chi., 152 F. Supp. 2d 1082, 1083 (N.D. Ill. 2001, Shadur, J.) (“later

developments, more consistent with the notice pleading (not fact pleading) regime dictated by

the Rules (see, e.g., Rule 8(a)), have overtaken [Strauss’s] unfortunate approach.”); Glover v.

Vill. of Oak Lawn, 2000 WL 1847599 at *6-7 (N.D. Ill. Dec. 13, 2000, Williams, J.); Treece v.

Vill. of Naperville, 903 F. Supp. 1251, 1259 (N.D. Ill. 1995, Gottschall, J.) (“this type of

heightened pleading requirement came under criticism and was eventually rejected by the

Supreme Court in Leatherman v. Tarrant County.); Clay v. Brown, 1998 WL 417503 at *13

(N.D. Ill. July 20, 1998, Gottschall, J.) (“Strauss is no longer the appropriate standard for

determining the adequacy of pleadings.”). Indeed, in 2006, at least one court in this district

commented that it was “surprising” that the City of Chicago continued to rely upon Strauss “six

years after our Court of Appeals' decision in McCormick v. City of Chicago…and more than 13

years after the Supreme Court's unanimous opinion in Leatherman…” Marcavage v. City of Chi.,

467 F. Supp. 2d 823, 828 (N.D. Ill. 2006, Shadur, J.). An additional decade has passed since

Judge Shadur’s remarks, and yet the City of Chicago continues to cite to this outdated precedent,

entirely to its own detriment.




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       To show the existence of a widespread custom or practice under Monell, a plaintiff must

plead facts that show that the municipality was aware of the behavior, or that the behavior was so

widespread that the City should have been aware of it, and that the City or its policymakers were

“‘deliberately indifferent’ as to [the widespread practice’s] known or obvious consequences.”

Hall v. City of Chicago, 989 F. Supp. 2d 699, 708 (N.D. Ill. 2013) (citations omitted); see also

Gibson, 910 F.2d at 1519-23 (official inaction in the face of a known or obvious consequence of

the custom or practice constitutes a deliberate choice that may be properly thought of as a city

policy or custom that is actionable under § 1983). Further, “allegations with respect to the

pervasive nature of the alleged constitutional violations [a]re sufficient to establish that the

practice was widespread enough to impute constructive knowledge to the City.” Hall, 989 F.

Supp. 2d at 708. See also Floyd v. City of New York, 959 F. Supp. 2d 540, 660 (S.D.N.Y. 2013)

(finding that the NYPD was liable under a Monell theory based on “practices so persistent and

widespread as to practically have the force of law” in part because statistical evidence showed

that there were a high percentage of contact cards filled out by NYPD officers that did not

identify a suspected crime which would have legally justified the stop or stop and frisk).

       Although the Seventh Circuit “has not adopted any bright-line rules for establishing what

constitutes a widespread custom or practice,” it plainly has suggested that more than three

incidents are necessary. Wilson v. Cook Cnty., 742 F.3d 775, 780 (7th Cir. 2014). Plaintiffs’

Amended Complaint pleads significantly more than three incidents of the customs or practices of

impropriety of Chicago Police Officers, particularly with references to LaQuan McDonald,

where the City of Chicago made a payment of 5 million dollars to the victim’s family and

prevent the dissemination of the video of the incident. Furthermore, the Complaint also alleges

the plethora of complaint registers the named officers received in other cases throughout their



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careers. Lastly, the Complaint references a recent federal jury that took place in the Northern

District of Illinois which affirmed the existence of a code of silence within the ranks of the

Chicago Police Department. Plaintiffs have pled sufficient facts to show that the City and its

officials were aware of, and even encouraged, the widespread custom that violating a citizen’s

rights was tolerated, acceptable, and would not result in disciplinary action. Finally, the

Amended Complaint alleges sufficient facts to state a claim that the City failed to train,

supervise, monitor, and discipline CPD officers with deliberate indifference to the constitutional

deprivations that were caused by and that were likely to be caused by those failures. The City

parses each individual allegation in an apparent attempt to test whether each separate allegation

on its own has merit. However, the Court must look at the Amended Complaint as a whole to

determine whether Plaintiffs have stated claims upon which relief can be granted. See Atkins v.

City of Chicago, 631 F.3d 823, 832 (7th Cir. 2011); cf. Scott v. City of Chicago, 195 F.3d 950,

952 (7th Cir. 1999) (“Whether a complaint provides notice, however, is determined by looking at

the complaint as a whole.”). Taken together, rather than picked apart, the Amended Complaint

adequately alleges an official municipal policy for which the City can be held liable under

Monell, and the City’s Motion to Dismiss should be denied.

       Rather than concede that the Amended Complaint adequately alleges the elements of a

claim for municipal liability under Monell, Defendants attempt to test the merits of Plaintiffs’

claims. By trying to get this Court to focus on the merits of Plaintiffs’ claims, Defendants run far

afield from the Rule 12(b)(6) standard, which asks whether the Plaintiffs have stated a claim

upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). Defendants’ arguments on the merits

of Plaintiffs’ claims merely highlight the fact that the Amended Complaint plainly meets this

standard.



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       First, the City relies on completely impertinent cases for their argument. The only point

that Defendants correctly raise with respect to McCauley is that the Seventh Circuit dismissed

the plaintiff’s Monell claim. Beyond this thin reed, the cases have absolutely nothing in common.

In McCauley, the estate of a woman gunned down in a church parking lot by an ex-boyfriend

with a violent history brought an equal protection claim against the City of Chicago for failing to

maintain a policy to equally protect female victims of domestic violence. In interpreting the

Monell claim under Iqbal and Twombly, the court held that in order to state a facially plausible

equal-protection claim under Monell, the factual allegations in McCauley's complaint must allow

us to draw the reasonable inference that the City established a policy or practice of intentionally

discriminating against female victims of domestic violence in the provision of police protection.

McCauley v. City of Chi., 671 F.3d 611, 618 (7th Cir. 2011). Along these lines, because the equal

protection clause did not entitle the decedent to adequate police protection, the lack thereof could

not form the basis of a Monell claim, as it amounted to “entirely lawful conduct.” Id.

          Defendants also seemingly suggests that the viability of a “code of silence” claim

against the City of Chicago should be measured against its factual similarity to Obrycka. Not

only does this argument miss the import of Obrycka by a rather significant margin, it offers in

support two cases that do not aid the City in the slightest. In Fuery, the district court granted

summary judgment for the City on its Monell claim because the plaintiff unsuccessfully

attempted to establish an analogous Monell claim founded on the City’s “cover-up” of their

incident, with which the court disagreed. While the plaintiffs therein asserted that they, like the

plaintiff in Obrycka, alleged that the City subsequently “covered-up” an officer’s physical

assault, the court granted summary judgment because the similarities between the cases was

merely superficial – in particular, “Plaintiffs have failed to allege any cover-up after Szura



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allegedly battered them.” Fuery v. City of Chi., No. 07 C 5428, 2015 U.S. Dist. LEXIS 18938, at

*8 (N.D. Ill. Feb. 17, 2015). Although it certainly goes without saying that the legal standard by

which a summary judgment motion is considered is far more exacting than that governing a

motion to dismiss, this is not an idle point – the City did move to dismiss the Monell count in

Fuery and lost handily, the court finding that it was “more than plausible to infer that Szura

believed that he was above the law from the allegations of the Complaint.” Fuery v. City of Chi.,

No. 07 C 5428, 2009 U.S. Dist. LEXIS 39351, at *14 (N.D. Ill. May 6, 2009).

          Likewise, the opinion Defendants cite to in Sigle v. City of Chicago is also completely

irrelevant to the instant motion to dismiss. In Sigle, the determinative factor in granting summary

judgment was that the plaintiff therein relied solely on the existence of prior lawsuits and citizen

complaints and did not “proffered any expert testimony opining on the integrity of the complaint

register investigations, nor has he adduced deposition testimony of OPS or IPRA investigators

familiar with the City's investigation and discipline process.” Sigle v. City of Chi., 2013 WL

1787579 at *28-29 (N.D. Ill. Apr. 25, 2013).

       Plaintiffs contend that on the face of its Complaint it has stated a viable Monell Claim.

Whether discovery sought in regards to the Defendants numerous complaint registers, the

practice of inventorying money, the numerous cases of “entering into apartments without

warrant”, the practice of “non-reporting” and the practice of covering up theft of drug money,

and the “code of silence” can support this Monell Claim; has to be ultimately determined

whether the discovery bears this out must be determined. Plaintiff however, believes that the

facts in this case as alleged are enough to state a viable Monell Claim in their Second Amended

Complaint.




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                                       CONCLUSION

       Defendants’ Motion to Dismiss should be denied for the reasons stated herein.




                                           Respectfully submitted,
                                           PLAINTIFFS:


                                           /s/ Gregory E. Kulis
                                           One of Plaintiff’s Attorneys



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